                 Case 0:22-cr-60078-RAR Document 47 Entered on FLSD Docket 08/10/2022 Page 1 of 1
                                              COURT M INUTES/ORDER
                                   United States M agistrate ludge Alicia 0 .Valle
                                          Courtroom 310                                               Date:8/10/2022 Time:11:00a.m.
    Defendant:              W ilsonTirado-silvatl) J#:                               case#:22-Cr-6O078-RAR                        .
    AUSA:Bri
           anfobbins                                                Attornry:
    Violation: M urderFirst Degree in aid ofRacketeering
    Proceeding'
              .InitialAppearance                                        .              G A Appt:           -G-   .
                                                                                                                      ;                        Ia
    Bond/PTD Held:C Yes C,No                       Recom mended Bond: Detention
    Bond Setat:                                                                        Cb-signed by:
     î-' Surrenderand/ordo notobtainpassports/traveldocs
                                                   x
                                                                    '       .
                                                                                              Language:              ' 2n k
     T ReporttoPTSas directed/or                          x'saweek/monthby                    Disposition:
                 Phone:       x'saweek/month'inperson
                               -
                                                                                                                      qw ay.                        n)  .

         '
     r           Random urinetestingbyPretrialServices                                        k                            q  .
                                                                                                                                                .

                 Treatm ent as deem ed necessary                                              x
                                                                                                       .                                   ,

     r- Refrainfrom excessive use ofalcohol
                                                                                                  .
                                                                                                                 cï
     C Participate in mentalhealth assessm ent& treatm eni
     '
                                                                                                                          > p                       *

     17 Maintainorseekfull-timeemployment/education                                                        '              .
                                                                                                                                  -   .-

                                                                                              l/f.o ha c                              N
     l- Nocontact'withvictims/witnesses
     '                                                                                                 .                                   -


     f- Nofirearms
     '                                                                                        ?
     1- Notto encumberproperty
     C           May notvisittransportation establishments
                 HomeConfinement/ElectronicMonitoringand/or
                 curfew         pm to          am,paid by
     E Allowances:Medicalneeds,courtappearances,attorneyvisits,                               '
             .   religious,em ploym ent
     1- Travelextended to:
     17- Other:
    NEXT COURT APPEARANCE Date:                        Tim e:                        Judge:                           Place:

    ReporyRECounsel: @-13.n*                           ï xw- G u                       k
    P> pBondHearing: î-.lS-ao >y e.                       a.-               -''y
    Prelim/AgrinorRemoval: - 1 -K                       c   .   -               Uvu (% .
'
    StatusConference RE:
    D.A.'
        R.
           ï1'..2: (--u . l!'stn-          ..s                       Timeincourt: ts fwa..a.
      CHECKIFAPPLICABLE: ForthereasorisstatedbycounselfortheDefendantandfindingthattheendsofjusticeservêdbyLj
                                                                                 .

      grantingthe oretenusm otion forcontinuancetohirecounseloutw eighthe bestinterestsofthepublic& the Defendantina
      speedy Trial,the Courtfindsthatthe period oftim e from today,through and including ' '     , shal
                                                                                                      lbe deem ed
      excludable in accordancewith the provisionsoftheSpeedyTrialAct,18 USC 3161etseq..
